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12    and COOPERSURGICAL, INC.

13                                  UNITED STATES DISTRICT COURT

14                               NORTHERN DISTRICT OF CALIFORNIA

15

16    KEARSTEN WALDEN and ZACHARY                           Case No. 4:24-CV-00903-JST
      WALDEN,
17                                                          Assigned to: Judge Jon S. Tigar
                                   Plaintiffs,
18                                                          DEFENDANT THE COOPER COMPANIES,
             v.                                             INC.’S FURTHER REPLY IN SUPPORT OF
19                                                          ITS MOTION TO DISMISS PLAINTIFFS’
      COOPERSURGICAL, INC.; THE COOPER
20    COMPANIES, INC.; and DOES 1-50,                       COMPLAINT; MEMORANDUM OF
      inclusive,                                            POINTS AND AUTHORITIES
21
                                   Defendants.              Hearing Date and Time: July 3, 2024 – 2:00 p.m.
22                                                          Courtroom 11 – 19th Floor
                                                            Complaint Filed: February 15, 2024
23

24          Defendant The Cooper Companies, Inc., hereby responds to Plaintiffs’ Sur-Reply in Opposition
25   to Defendants’ Motions to Dismiss (ECF No. 46) and in further support of its motion to dismiss.
26   ///
27   ///
28   ///
                                                        1
                DEFENDANT THE COOPER COMPANIES, INC.’S REPLY IN SUPPORT OF ITS MOTION
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 1                                               INTRODUCTION

 2           Plaintiffs’ characterization of the Complaint in their Sur-Reply bears little resemblance to the

 3   Complaint itself. The Sur-Reply argues that the Complaint “focuses on just two affiliated corporate

 4   defendants” (ECF No. 46, at 5:11), but in fact the Complaint alleges a variety of wrongdoing by

 5   “Defendants,” defined as CooperCompanies, CooperSurgical, and 10 unidentified Doe defendants

 6   (Compl., ECF No. 1, ¶ 17 (emphasis added)). The Sur-Reply argues that the Complaint “provides

 7   extensive detail regarding Defendants’ role in the events underlying this case (ECF No. 46 at 5:12-14),

 8   but in fact the Complaint draws no distinction between the conduct of CooperCompanies,

 9   CooperSurgical, or any of the 10 Doe defendants. Indeed, the Sur-Reply glosses over the fact that the

10   Complaint alleges conduct entitling them to punitive damages but fails to describe what the conduct is

11   and which defendant engaged in it. In short, Plaintiffs’ Sur-Reply does not remedy the deficiencies in

12   the Complaint and does not give this Court any reason to deny CooperCompanies’ motion.

13                                                  ARGUMENT

14   I.      Even when permitted, a group pleading must still give defendants fair notice of the claims

15           and the grounds for them, something the Complaint in this case fails to do.

16           As Plaintiffs point out, group or shotgun pleading does not automatically doom a complaint, as

17   long as it gives the defendants fair notice of the claims against them. But the Complaint against

18   CooperCompanies does nothing of the kind.

19           This Court did permit a group pleading in Celgard, LLC v. Shenzhen Senior Tech. Material Co.

20   (US) Rsch. Inst., No. 19-cv-05784, 2021 WL 9763371, at *5 (N.D. Cal. Feb. 8, 2021) (Tigar, J.),

21   opinion vacated in part on other grounds, 2021 WL 11714935 (N.D. Cal. Dec. 7, 2021). However, in

22   that case, the plaintiff specifically alleged that all three defendants acted in concert. That is not the

23   case here. There is no allegation in the Complaint that CooperCompanies acted jointly or otherwise in

24   concert with any of the other Defendants.

25           Unlike the shotgun pleadings found sufficient in cases cited by Plaintiffs, the Complaint here

26   makes innocuous allegations that do not alert CooperCompanies to what it allegedly did or how its

27   conduct gives rise to liability. The closest the Complaint comes to articulating a discernible claim against

28   CooperCompanies and the grounds for it is Paragraph 44, which alleges, “Operating through
                                                            2
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 1   CooperSurgical, Defendant Cooper Companies is a prominent leader in the global infertility treatment

 2   market.” (Compl., ECF No. 1, ¶ 44.) Nothing about that allegation, even if true, shows Plaintiffs are

 3   “entitled to relief” from CooperCompanies. Unlike the complaint in Celgard, this bland allegation does

 4   not give CooperCompanies notice of the claim against it, even when read in combination with everything

 5   else in the Complaint. The Complaint goes to great lengths to show CooperSurgical’s conduct but is

 6   noticeably silent on the conduct of CooperCompanies. The Complaint in this case is nothing like the

 7   group pleading found sufficient in Celgard.

 8          The Complaint       doesn’t    even allege that,      in   their parent-subsidiary relationship,

 9   CooperCompanies and CooperSurgical worked together to produce the defective product or otherwise

10   engaged together in actionable conduct toward Plaintiffs. Plaintiffs cite Steinley v. Health Net, Inc., No.

11   CV 18-5458, 2019 WL 3059383 (C.D. Cal. Mar. 28, 2019), but that ruling addressed the sufficiency of

12   an amended complaint, while the earlier ruling cited by CooperCompanies addressed the original

13   complaint which, like Plaintiffs’ in this case, failed to allege wrongful conduct by the corporate parent.

14   In other words, Steinley II may be instructive, if at all, only after Plaintiffs amend their Complaint

15   against CooperCompanies. Cf. Cree, Inc. v. Tarr Inc., No. 3:17-cv-00506, 2017 WL 3219974, at *5

16   (S.D. Cal. July 28, 2017) (cited by Plaintiffs and acknowledging that the purpose of the complaint is to

17   “give the defendant fair notice of what the claim is and the grounds upon which it rests”) (quotations

18   and citation omitted).

19          Contrary to Plaintiffs’ argument, the Complaint does not “target just two corporate entities . . .

20   .” (ECF No. 46 at 3:23-24.) In fact, the Complaint targets 12 defendants without distinguishing between

21   them. The Complaint lumps all 12 defendants together, alleging that Defendants produced defective

22   products, Defendants were negligent, Defendants were aware, and Defendants manufactured,

23   marketed, promoted, distributed, and/or sold media. (Compl., ECF No. 1, ¶¶ 1, 6, 33.) Plaintiffs direct

24   all eight of their causes of action toward all Defendants. This lumping together of all claims and

25   allegations against all defendants as a monolithic group is precisely the type of shotgun pleading

26   disallowed by Rule 8. See, e.g., Carmona v. Bolanos, No. 18-CV-05232-LHK, 2019 WL 2247832, at

27   *5 (N.D. Cal. May 23, 2019) (holding that a complaint that lumps two named defendants in with multiple

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 1   Doe defendants does not “meet Rule 8’s pleading standard”).1

 2            In re Paragard IUD Products Liability Litigation, No. 1:20-md-02974 (N.D. Ga. Nov. 16, 2021),

 3   undermines Plaintiffs’ position. In Paragard, although the court found that it was “not ideal that

 4   Defendants are grouped and that the claims presently cross-reference all paragraphs,” it concluded that

 5   “it would be premature to require Plaintiffs to make a more definite statement, as the Paragard ownership

 6   history and Defendants’ corporate structures create an unusually complex situation that involves

 7   numerous entities with potentially overlapping roles and responsibilities.” (ECF No. 46-2 at p. 8.) Here,

 8   Plaintiffs do not face “an unusually complex situation” involving “numerous entities with potentially

 9   overlapping roles and responsibilities.” This case presents a straightforward, unabashed attempt to

10   shoehorn venue through deliberately murky allegations against 12 defendants. If truth be told, Plaintiffs

11   avoid clarity and specificity as to CooperCompanies because clarity and specificity would expose the

12   Complaint for what it is—a transparent attempt to keep the case in a district where it does not belong.

13   II.      The punitive damages allegations only exacerbate the Complaint’s deficiencies.

14            It is also true, as Plaintiffs point out, that issues of shotgun pleading frequently arise in cases of

15   fraud. (See ECF No. 46 at 5:8-11.) But fraud cases are not the only ones in which problems of shotgun

16   pleading arise. Shotgun pleading problems arise in punitive damages cases as well. E.g., Estate of Bass

17   v. Regions Bank, Inc., 947 F.3d 1352, 1356 n.5 (11th Cir. 2020).

18            In Estate of Bass, the Eleventh Circuit explained that a shotgun “pleading is never plain because

19   it is impossible to comprehend which specific factual allegations the plaintiff intends to support which

20   of his causes of action, or how they do so.” 947 F.3d at 1357. Although that case involved only two

21   defendants, the complaint still violated Rule 8, particularly because of the punitive damages allegations.

22   The court explained that shotgun pleading of punitive damages leaves everyone guessing about which

23   conduct supports punitive damages and, as a result, “clearly run[s] afoul of the specificity required by

24   Rule 8(a)(2) and Iqbal . . . .” Id. at 1356 n.5.

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26         Including 10 Doe defendants does not relieve Plaintiffs of their obligation to comply with Rule 8’s
           pleading requirements. Accord Nicholas v. City of West Covina, No. 2:22-cv-02425-PA-JC , 2022
27         WL 17254779, at *5 (C.D. Cal. Sept. 14, 2022) (holding that a pro se plaintiff’s complaint failed to
           comply with Rule 8 because it lacked “individualized allegations about each Doe defendant” and
28         merely alleged “that an indistinguishable group of Doe defendants caused his injuries”).
                                                             4
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 1             The Complaint here illustrates the concerns expressed in Estate of Bass. Although the Complaint

 2   names CooperCompanies, CooperSurgical, and 10 unidentified Doe defendants, Paragraph 67 alleges

 3   that “Defendants’ conduct was despicable and carried out by Defendants with a willful and conscious

 4   disregard of the rights and/or safety of others, including putting Defendants’ profits over the safety of

 5   others, including Plaintiffs.” (Compl., ECF No. 1, ¶ 67.) Paragraph 67 claims “Defendants” subjected

 6   Plaintiffs to “cruel and unjust hardship in conscious disregard of Plaintiffs’ rights.” (Id.) It asserts that,

 7   “as discussed herein, Defendants’ conduct amounted to a deceit and/or concealment of material fact(s)

 8   known to Defendants . . . .” (Id.) Like the pleadings in Estate of Bass, Paragraph 67 leaves everyone

 9   guessing about which conduct supports punitive damages and by whom. Perhaps most egregiously,

10   Paragraph 67 purports to base punitive damages upon Defendants’ conduct “as discussed herein,” but

11   nowhere “herein” does the Complaint state or allege that CooperCompanies did anything wrong or that

12   its conduct could be considered “despicable,” in a “willful and conscious disregard of the rights and/or

13   safety of others,” or amounted “to a deceit and/or concealment of material fact(s).” Paragraph 67, like

14   the Complaint as a whole, violates Rule 8.2

15   III.      Plaintiffs may amend their Complaint, if at all, only after they comply with Civil L.R. 10-

16             1.

17             CooperCompanies acknowledges that courts liberally grant leave to amend pleadings. Liberality,

18   however, comes only with compliance with Rule 15 and, more importantly, this Court’s local rules.

19   Under Civ. L.R. 10-1, “Any party filing or moving to file an amended pleading must reproduce the

20   entire proposed pleading and may not incorporate any part of a prior pleading by reference.” See Rivera

21   v. E. Bay Mun. Dist., No. C 15-0380 SBA, 2015 WL 14027603, at *1 n.1 (N.D. Cal. Aug. 5, 2015) (“A

22   proposed stipulation or motion for leave to file an amended complaint must be accompanied by the

23
     2
            Plaintiffs suggest that the Complaint must have given CooperCompanies sufficient notice because,
24          otherwise, CooperCompanies couldn’t have argued that the Complaint fails to state a claim for
            agency or alter ego. (ECF No. 46 at 3 n.1.) Plaintiffs misconstrue CooperCompanies’ argument. As
25          discussed above, the only allegation purporting to link CooperCompanies to any actionable conduct
            is that CooperSurgical is a subsidiary of CooperCompanies. CooperCompanies argued that that
26          allegation is not sufficient because it does not demonstrate that either company was the agent or alter
            ego of the other. Cf. Franks v. CooperSurgical, Inc., No. CV 22-046 WES, 2024 WL 1109055, at
27          *9 (D.R.I. Mar. 14, 2024) (declining to find personal jurisdiction on an alter ego theory between
            CooperSurgical and CooperCompanies). In other words, CooperCompanies simply anticipated an
28          agency and alter ego argument by Plaintiffs.
                                                             5
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 1   proposed pleading.”); Koussa v. Ming Yeung, No. 16-CV-05137-JSC, 2017 WL 1208073, at *3 (N.D.

 2   Cal. Apr. 3, 2017) (“Without a proposed pleading, the Court cannot conclude whether the factors

 3   commonly used to determine the propriety of a motion for leave to amend—bad faith, delay, prejudice,

 4   or futility.”). Plaintiffs may well be entitled to amend the Complaint, but only after complying with the

 5   rules. Until they do, the Court should deny their request.

 6                                               CONCLUSION

 7           Plaintiffs’ Sur-Reply does not cure the deficiencies in the Complaint against CooperCompanies,

 8   it only magnifies them. The Sur-Reply does not cure the failure of the Complaint to allege wrongdoing

 9   or other actionable conduct by CooperCompanies that would give it notice of the claim against it is and

10   the grounds for it. The Sur-Reply does not cure the problem created by lumping all 12 Defendants

11   together and vaguely claiming entitlement to punitive damages with no description of the conduct or

12   which defendant engaged in it. And, because the Sur-Reply does not comply with Civ. L.R. 10-1, the

13   request in the Sur-Reply for leave to amend cannot fend off dismissal. Accordingly, because the

14   Complaint remains deficient under Rule 8, the Court should grant CooperCompanies’ motion to dismiss

15   in its entirety.

16

17   DATED: July 12, 2024                                  NELSON MULLINS RILEY &
                                                           SCARBOROUGH LLP
18

19                                                 BY:     /s/ Molly J. Given
                                                           Molly J. Given
20                                                         Attorneys for Defendants
                                                           THE COOPER COMPANIES, INC. and
21                                                         COOPERSURGICAL, INC.

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 1                                      CERTIFICATE OF SERVICE
 2           I HEREBY CERTIFY that on July 12, 2024, I electronically filed the foregoing document entitled
 3
     DEFENDANT THE COOPER COMPANIES, INC.’S REPLY IN SUPPORT OF ITS MOTION TO
 4
     DISMISS PLAINTIFFS’ COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES with
 5
     the Clerk of Court using the CM/ECF System, which will send a notice of electronic filing to all Counsel
 6

 7   of record in this action.

 8                                               /s/ Molly J. Given
                                                 Molly J. Given
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